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                                                                          6                     IN THE UNITED STATES DISTRICT COURT
                                                                          7                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          9   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                         10                                           )
                               For the Northern District of California
United States District Court




                                                                                                                      )   ORDER RE: CLERICAL ERROR IN
                                                                         11                                           )   DOCKET NUMBER 2439
                                                                                                                      )
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                                                                                   The Sharp Plaintiffs notified the Court that in its order on
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                                                                              the Mitsubishi defendants' motion to dismiss various Direct Action
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                                                                              Purchasers' ("DAPs") complaints, there are two minor clerical
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                                                                              errors.
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                                                                                   The Court makes the following corrections: the portion of the
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                                                                              caption referring to Sharp's first amended complaint is deleted.
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                                                                              On page nine, the phrase "Sharp argues that its . . . " is replaced
                                                                         21
                                                                              with "The DAPs argue that their . . . ."
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                                                                                   IT IS SO ORDERED.
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                                                                                   Dated: March 28, 2014
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                                                                                                                          UNITED STATES DISTRICT JUDGE
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